        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 1 of 40




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY,                                  )   Civil Action No.: 2:22-cv-547
                                               )
              Plaintiff,                       )   ANSWER
                                               )
       v.                                      )   Electronically Filed
                                               )
MICHAEL RUSSIN, RUSSIN                         )
FINANCIAL, RUSSIN GROUP,                       )
SIMON ARIAS, III, ARIAS AGENCIES,              )
S.A. ARIAS HOLDINGS, LLC,                      )
AMERICAN INCOME LIFE                           )
INSURANCE COMPANY,                             )

              Defendants.


                                           ANSWER
       AND NOW, comes Defendant, Michael Russin (“Defendant”), by and through his

attorneys, Benjamin D. Webb, Esquire, and Cozza Law Group PLLC, and files the within Answer

to Plaintiff’s Second Amended Complaint, averring as follows:

                               JURISDICTION AND VENUE

       1.     Paragraph 1 of Plaintiff’s Second Amended Complaint contains conclusions of law

to which no responsive pleading is required.

       2.     Paragraph 2 of Plaintiff’s Second Amended Complaint contains conclusions of law

to which no responsive pleading is required.

       3.     Paragraph 3 of Plaintiff’s Second Amended Complaint contains conclusions of law

to which no responsive pleading is required.

       4.     Paragraph 4 of Plaintiff’s Second Amended Complaint contains conclusions of law

to which no responsive pleading is required.
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 2 of 40




                                         PARTIES

       5.     Defendant admits the averments contained in paragraph 5 of Plaintiff’s Second

Amended Complaint.

       6.     Defendant admits the averments contained in paragraph 6 of Plaintiff’s Second

Amended Complaint.

       7.     Per this Honorable Court’s Opinion and Order, dated July 22, 2022, Defendant is

only required to file responsive pleadings to Counts IX, X, XI and XII of Plaintiff’s Second

Amended Complaint. Plaintiff’s Corporate claims against Russin Financial, Russin Group, Simon

Arias, III, Arias Agencies, S.A. Arias Holdings, LLC (“Arias Defendants”) and American Income

Life Insurance Company (“AIL”) are stayed pending the resolution of an arbitration proceeding.

Based on the Court’s Order, Defendant is not required to file a responsive pleading to the

averments contained in paragraph 7 of Plaintiff’s Second Amended Complaint. Moreover, the

averments contained in paragraph 7 of Plaintiff’s Second Amended Complaint are directed to a

party other than answering Defendant, and therefore no response is required of answering

Defendant.

       8.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 8 of Plaintiff’s Second Amended

Complaint. Moreover, the averments contained in paragraph 8 of Plaintiff’s Second Amended

Complaint are directed to a party other than answering Defendant, and therefore no response is

required of answering Defendant.

       9.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 9 of Plaintiff’s Second Amended

Complaint.
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 3 of 40




       10.    The averments contained in paragraph 10 of Plaintiff’s Second Amended

Complaint are directed to a party other than answering Defendant, and therefore no response is

required of answering Defendant.

       11.    The averments contained in paragraph 11 of Plaintiff’s Second Amended

Complaint are directed to a party other than answering Defendant, and therefore no response is

required of answering Defendant.

       12.    The averments contained in paragraph 12 of Plaintiff’s Second Amended

Complaint are directed to a party other than answering Defendant, and therefore no response is

required of answering Defendant.

       13.    The averments contained in paragraph 13 of Plaintiff’s Second Amended

Complaint are directed to a party other than answering Defendant, and therefore no response is

required of answering Defendant.

       14.    The averments contained in paragraph 14 of Plaintiff’s Second Amended

Complaint are directed to a party other than answering Defendant, and therefore no response is

required of answering Defendant.

       15.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 15 of Plaintiff’s Second Amended

Complaint. Moreover, the averments contained in paragraph 15 of Plaintiff’s Second Amended

Complaint are directed to a party other than answering Defendant, and therefore no response is

required of answering Defendant.

       16.    The averments contained in paragraph 16 of Plaintiff’s Second Amended

Complaint are directed to a party other than answering Defendant, and therefore no response is

required of answering Defendant.
         Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 4 of 40




       17.     The averments contained in paragraph 17 of Plaintiff’s Second Amended

Complaint are directed to a party other than answering Defendant and, therefore no response is

required of answering Defendant. Moreover, paragraph 17 of Plaintiff’s Second Amended

Complaint contains conclusions of law to which no responsive pleading is required.

       18.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 18 of Plaintiff’s Second Amended

Complaint.

       19.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 19 of Plaintiff’s Second Amended

Complaint. Moreover, paragraph 19 of Plaintiff’s Second Amended Complaint contains

conclusions of law to which no responsive pleading is required.

       20.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 20 of Plaintiff’s Second Amended

Complaint. Moreover, paragraph 20 of Plaintiff’s Second Amended Complaint contains

conclusions of law to which no responsive pleading is required.

                                   BACKGROUND FACTS

       21.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 21 of Plaintiff’s Second Amended

Complaint. To the extent a response is required, Defendant admits that Plaintiff was contracted to

sell life insurance on behalf of AIL beginning on or about April 2019. Defendant denies that an

employer/employee relationship existed between himself and Plaintiff at any time relevant hereto.

       22.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 22 of Plaintiff’s Second Amended
         Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 5 of 40




Complaint. To the extent a response is required, Defendant admits that periodically during her

employment, Plaintiff reported to several senior agents, including himself.

       23.     The averments contained in paragraph 23 of Plaintiff’s Second Amended

Complaint are directed to a party other than answering Defendant, and therefore no response is

required of answering Defendant.

       24.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 24 of Plaintiff’s Second Amended

Complaint.

       25.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 25 of Plaintiff’s Second Amended

Complaint.

       26.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 26 of Plaintiff’s Second Amended

Complaint.

       27.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 27 of Plaintiff’s Second Amended

Complaint.

       28.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 28 of Plaintiff’s Second Amended

Complaint, including all relevant subparts.

       A. The Hiring Process

       29.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 29 of Plaintiff’s Second Amended
         Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 6 of 40




Complaint. To the extent a response is required, Defendant denies the averments contained in

paragraph 29 of Plaintiff’s Second Amended Complaint.

       30.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 30 of Plaintiff’s Second Amended

Complaint, including all relevant subparts.

       31.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 31 of Plaintiff’s Second Amended

Complaint.

       32.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 32 of Plaintiff’s Second Amended

Complaint.

       33.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 33 of Plaintiff’s Second Amended

Complaint.

       34.     Defendant denies the averments contained in paragraph 34 of Plaintiff’s Second

Amended Complaint.

       35.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 35 of Plaintiff’s Second Amended

Complaint.

       B. Plaintiff’s Employment

       36.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 36 of Plaintiff’s Second Amended

Complaint. To the extent that a responsive pleading is required, Defendant admits that Plaintiff
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 7 of 40




began working for AIL as a contractor on or about April 2019 at an office located at 150 Lake

Drive, Suite 105, Wexford, Pennsylvania 15090 (“Wexford Office”).

       37.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 37 of Plaintiff’s Second Amended

Complaint. To the extent a responsive pleading is required, Defendant admits that he also worked

out of the Wexford Office.

       38.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 38 of Plaintiff’s Second Amended

Complaint.

       39.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 39 of Plaintiff’s Second Amended

Complaint.

       40.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 40 of Plaintiff’s Second Amended

Complaint.

       41.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 41 of Plaintiff’s Second Amended

Complaint.

       42.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 42 of Plaintiff’s Second Amended

Complaint.
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 8 of 40




       43.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 43 of Plaintiff’s Second Amended

Complaint.

       44.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 44 of Plaintiff’s Second Amended

Complaint.

       45.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 45 of Plaintiff’s Second Amended

Complaint.

       46.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 46 of Plaintiff’s Second Amended

Complaint.

       47.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 47 of Plaintiff’s Second Amended

Complaint.

       48.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 48 of Plaintiff’s Second Amended

Complaint.

       49.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 49 of Plaintiff’s Second Amended

Complaint.

       50.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 50 of Plaintiff’s Second Amended
         Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 9 of 40




Complaint.     Moreover, paragraph 50 of Plaintiff’s Second Amended Complaint contains

conclusions of law to which no responsive pleading is required.

       51.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 51 of Plaintiff’s Second Amended

Complaint, including all relevant subparts.

       52.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 52 of Plaintiff’s Second Amended

Complaint.

       53.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 53 of Plaintiff’s Second Amended

Complaint.

       54.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 54 of Plaintiff’s Second Amended

Complaint.

       55.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 55 of Plaintiff’s Second Amended

Complaint.    Moreover, paragraph 55 of Plaintiff’s Second Amended Complaint contains

conclusions of law to which no responsive pleading is required.

       56.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 56 of Plaintiff’s Second Amended

Complaint.     Moreover, paragraph 56 of Plaintiff’s Second Amended Complaint contains

conclusions of law to which no responsive pleading is required.

       C. The Defendants’ Hostile, Toxic, and Cult-Like Work Environment
       Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 10 of 40




       57.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in subparagraphs 57 (a-d) of Plaintiff’s Second

Amended Complaint. Defendant responds to the remaining subparagraphs contained in paragraph

57 of Plaintiff’s Second Amended Complaint as follows:

       (a)   Defendant is without sufficient knowledge or information to form a belief regarding
             the averments contained in subparagraphs 57(e-f) of Plaintiff’s Second Amended
             Complaint.
       (b)   Defendant admits the averments contained in subparagraph 57(g) of Plaintiff’s
             Second Amended Complaint to the extent that Defendant has used alcohol and drugs
             during work hours and at work events. Defendant denies that he used steroids, male-
             enhancing drugs, or painkillers during work hours or at work events.
       (c)   Defendant denies the averments contained in subparagraphs 57 (h-r) of Plaintiff’s
             Second Amended Complaint.
       (d)   Defendant is without sufficient knowledge or information to form a belief regarding
             the averments contained in subparagraph 57(s) of Plaintiff’s Second Amended
             Complaint.
       (e)   Defendant denies the averments contained in subparagraph 57 (t) of Plaintiff’s
             Second Amended Complaint.
       (f)   Based on this Court’s July 22, 2022, Order, Defendant is not required to file a
             responsive pleading to the averments contained in subparagraphs 57 (u-x) of
             Plaintiff’s Second Amended Complaint.
       (g)   Defendant denies the averments contained in subparagraph 57 (y) of Plaintiff’s
             Second Amended Complaint.
       (h)   Based on this Court’s July 22, 2022, Order, Defendant is not required to file a
             responsive pleading to the averments contained in subparagraph 57 (z) of Plaintiff’s
             Second Amended Complaint.
       (i)   Defendant admits the averments contained in subparagraph 57 (aa) of Plaintiff’s
             Second Amended Complaint.
       (j)   Defendant denies the averments contained in subparagraph 57 (bb) of Plaintiff’s
             Second Amended Complaint.
       (k)   Based on this Court’s July 22, 2022, Order, Defendant is not required to file a
             responsive pleading to the averments contained in subparagraphs 57 (cc-hh) of
             Plaintiff’s Second Amended Complaint, including all relevant subparts.
       58.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 58 of Plaintiff’s Second Amended
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 11 of 40




Complaint, including all relevant subparts. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 58 of Plaintiff’s Second Amended

Complaint, including all relevant subparts. While it is possible that Defendant may have said some

of the words or phrases alluded to in this paragraph and its subparts, Defendant can’t recall whether

he stated any of the aforementioned words or phrases under the circumstances alleged by Plaintiff.

       D. Defendants’ Treatment of Plaintiff

       59.     Defendant denies the averments contained in paragraph 59 of the Second Amended

Complaint.

       60.     Defendant denies the averments contained in subparagraphs 60 (a-c) of Plaintiff’s

Second Amended Complaint. Defendant responds to the remaining subparagraphs contained in

paragraph 60 of Plaintiff’s Second Amended Complaint as follows:

        (a)   Defendant admits the averments contained in subparagraph 60 (d) of Plaintiff’s
              Second Amended Complaint that he often rode in the same vehicle with Plaintiff,
              and often discussed business during such rides. The remainder of the averments
              contained in subparagraph 60 (d) of Plaintiff’s Second Amended Complaint are
              denied.
        (b)   Defendant denies the averments contained in subparagraphs 60 (e-h) of Plaintiff’s
              Second Amended Complaint.


       61.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 61 of Plaintiff’s Second Amended

Complaint, including all relevant subparts. To the extent a responsive pleading is required,

Answering Defendant denies the averments contained in paragraph 61 of Plaintiff’s Second

Amended Complaint, including all relevant subparts.

       E. Defendants’ Ongoing Misconduct Amidst Plaintiff’s Reporting

       62.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 62 of Plaintiff’s Second Amended
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 12 of 40




Complaint.    To the extent a responsive pleading is required, Defendant is without sufficient

knowledge or information to form a belief regarding the averments contained in paragraph 62 of

Plaintiff’s Second Amended Complaint.

       63.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 63 of Plaintiff’s Second Amended

Complaint.

       64.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 64 of Plaintiff’s Second Amended

Complaint.

       65.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 65 of Plaintiff’s Second Amended

Complaint.    To the extent a responsive pleading is required, Defendant is without sufficient

knowledge or information to form a belief regarding the averments contained in paragraph 65 of

Plaintiff’s Second Amended Complaint that she began her efforts to report her alleged harassment

and assault in June 2021. By way of further response, Defendant denies the averments contained

in paragraph 65 of Plaintiff’s Second Amended Complaint that tend to imply that Plaintiff was

assaulted and harassed by Defendant for two years.

       66.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 66 of Plaintiff’s Second Amended

Complaint.    To the extent a responsive pleading is required, Defendant is without sufficient

knowledge or information to form a belief regarding the averments contained in paragraph 66 of

Plaintiff’s Second Amended Complaint.
       Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 13 of 40




       67.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 67 of Plaintiff’s Second Amended

Complaint.   To the extent a responsive pleading is required, Defendant is without sufficient

knowledge or information to form a belief regarding the averments contained in paragraph 67 of

Plaintiff’s Second Amended Complaint

       68.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 68 of Plaintiff’s Second Amended

Complaint.   To the extent a responsive pleading is required, Defendant is without sufficient

knowledge or information to form a belief regarding the averments contained in paragraph 68 of

Plaintiff’s Second Amended Complaint

       69.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 69 of Plaintiff’s Second Amended

Complaint.   To the extent a responsive pleading is required, Defendant is without sufficient

knowledge or information to form a belief regarding the averments contained in paragraph 69 of

Plaintiff’s Second Amended Complaint

       70.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 70 of Plaintiff’s Second Amended

Complaint.   To the extent a responsive pleading is required, Defendant is without sufficient

knowledge or information to form a belief regarding the averments contained in paragraph 70 of

Plaintiff’s Second Amended Complaint.

       71.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 71 of Plaintiff’s Second Amended

Complaint.   To the extent a responsive pleading is required, Defendant is without sufficient
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 14 of 40




knowledge or information to form a belief regarding the averments contained in paragraph 71 of

Plaintiff’s Second Amended Complaint.

       72.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 72 of Plaintiff’s Second Amended

Complaint.    To the extent a responsive pleading is required, Defendant is without sufficient

knowledge or information to form a belief regarding the averments contained in paragraph 72 of

Plaintiff’s Second Amended Complaint that she reported her allegations of sexual assault and

harassment to Simon Arias on August 11, 2011 [sic]. By way of further response, Defendant denies

the averments contained in paragraph 72 of Plaintiff’s Second Amended Complaint that allege that

Plaintiff was sexually assaulted and harassed by Defendant and that she has evidence regarding

the same.

       73.    Defendant denies the averments contained in paragraph 73 of Plaintiff’s Second

Amended Complaint.

       74.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 74 of Plaintiff’s Second Amended

Complaint.

       75.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 75 of Plaintiff’s Second Amended

Complaint.

       76.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 76 of Plaintiff’s Second Amended

Complaint.
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 15 of 40




       77.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 77 of Plaintiff’s Second Amended

Complaint.

       78.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 78 of Plaintiff’s Second Amended

Complaint.

       79.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 79 of Plaintiff’s Second Amended

Complaint.    To the extent a responsive pleading is required, Defendant is without sufficient

knowledge or information to form a belief regarding the averments contained in paragraph 79 of

Plaintiff’s Second Amended Complaint.

       80.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 80 of Plaintiff’s Second Amended

Complaint.

       81.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 81 of Plaintiff’s Second Amended

Complaint. To the extent a responsive pleading is required, Defendant denies the averments

contained in paragraph 81 of Plaintiff’s Second Amended Complaint that tend to imply that

Plaintiff was sexually assaulted and harassed by Defendant.

       82.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 82 of Plaintiff’s Second Amended

Complaint.
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 16 of 40




       83.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 83 of Plaintiff’s Second Amended

Complaint.

       84.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 84 of Plaintiff’s Second Amended

Complaint.

       85.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 85 of Plaintiff’s Second Amended

Complaint.

       86.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 86 of Plaintiff’s Second Amended

Complaint regarding conduct related to the Corporate Defendants. To the extent a responsive

pleading is required, Defendant is without sufficient knowledge or information to form a belief

regarding the averments contained in paragraph 86 of Plaintiff’s Second Amended Complaint that

outside counsel was retained to investigate her claims. Defendant denies the averments contained

in paragraph 86 of Plaintiff’s Second Amended Complaint that tend to imply that Plaintiff was

sexually assaulted and harassed by Defendant.

       87.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 87 of Plaintiff’s Second Amended

Complaint.

       88.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 88 of Plaintiff’s Second Amended

Complaint regarding conduct related to the Corporate Defendants. To the extent a responsive
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 17 of 40




pleading is required, Defendant is without sufficient knowledge or information to form a belief

regarding the averments contained in paragraph 88 of Plaintiff’s Second Amended Complaint

regarding whether Plaintiff provided information to outside counsel. Defendant denies the

averments contained in paragraph 88 of Plaintiff’s Second Amended Complaint that tend to imply

that Plaintiff was sexually assaulted and harassed by Defendant.

       89.    Defendant is without sufficient knowledge or information to form a belief regarding

the averments contained in paragraph 89 of Plaintiff’s Second Amended Complaint.

       90.    Defendant is without sufficient knowledge or information to form a belief regarding

the averments contained in paragraph 90 of Plaintiff’s Second Amended Complaint that Plaintiff

was interviewed by outside counsel on November 30, 2021. Defendant denies the averments

contained in paragraph 90 of Plaintiff’s Second Amended Complaint that tend to imply that

Plaintiff was sexually assaulted and harassed by Defendant.

       91.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 91 of Plaintiff’s Second Amended

Complaint.    To the extent a responsive pleading is required, Defendant is without sufficient

knowledge or information to form a belief regarding the averments contained in paragraph 91 of

Plaintiff’s Second Amended Complaint.

       92.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 92 of Plaintiff’s Second Amended

Complaint.    To the extent a responsive pleading is required, Defendant is without sufficient

knowledge or information to form a belief regarding the averments contained in paragraph 92 of

Plaintiff’s Second Amended Complaint.
       Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 18 of 40




       93.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 93 of Plaintiff’s Second Amended

Complaint.   To the extent a responsive pleading is required, Defendant is without sufficient

knowledge or information to form a belief regarding the averments contained in paragraph 93 of

Plaintiff’s Second Amended Complaint.

       94.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 94 of Plaintiff’s Second Amended

Complaint.   To the extent a responsive pleading is required, Defendant is without sufficient

knowledge or information to form a belief regarding the averments contained in paragraph 94 of

Plaintiff’s Second Amended Complaint.

       95.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 95 of Plaintiff’s Second Amended

Complaint.   To the extent a responsive pleading is required, Defendant is without sufficient

knowledge or information to form a belief regarding the averments contained in paragraph 95 of

Plaintiff’s Second Amended Complaint.

       96.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 96 of Plaintiff’s Second Amended

Complaint.   To the extent a responsive pleading is required, Defendant is without sufficient

knowledge or information to form a belief regarding the averments contained in paragraph 96 of

Plaintiff’s Second Amended Complaint.

       97.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 97 of Plaintiff’s Second Amended

Complaint.   To the extent a responsive pleading is required, Defendant is without sufficient
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 19 of 40




knowledge or information to form a belief regarding the averments contained in paragraph 97 of

Plaintiff’s Second Amended Complaint.

       98.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 98 of Plaintiff’s Second Amended

Complaint.    To the extent a responsive pleading is required, Defendant is without sufficient

knowledge or information to form a belief regarding the averments contained in paragraph 98 of

Plaintiff’s Second Amended Complaint.

       99.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 99 of Plaintiff’s Second Amended

Complaint.

       100.   Defendant denies that Plaintiff’s claims of sexual harassment related to Defendant

were substantiated. To the contrary, Defendant was informed that Plaintiff’s claims of sexual

harassment had been investigated and were not substantiated.

       101.   Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 101 of Plaintiff’s Second Amended

Complaint. To the extent a response is required, Defendant denies the averments contained in

paragraph 101 that imply that he was terminated because of Plaintiff’s sexual harassment claims.

       102.   Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 102 of Plaintiff’s Second Amended

Complaint.

       103.   Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 103 of Plaintiff’s Second Amended

Complaint.
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 20 of 40




       F. Russin’s Acts Intended to Defame Plaintiff

       104.    Paragraph 104 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 104 of Plaintiff’s Second Amended

Complaint.

       105.    Defendant denies the averments contained in paragraph 105 of Plaintiff’s Second

Amended Complaint.

       106.    Defendant admits that he contacted his former employees regarding the claims

made against him by Plaintiff. Defendant denies the remainder of the averments contained in

paragraph 106 of Plaintiff’s Second Amended Complaint.

       107.    Defendant admits the averments contained in paragraph 107 of Plaintiff’s Second

Amended Complaint that he contacted former employees for information related to Plaintiff’s

claims against him and/or information that may prove useful in defending against the same.

Defendant denies the remainder of the averments contained in paragraph 107 of Plaintiff’s Second

Amended Complaint.

       108.    Paragraph 108 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 108 of Plaintiff’s Second Amended

Complaint.

       109.    Defendant admits that he made the statement referenced in paragraph 109 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff or her claims against Defendant Russin. Defendant denies that the

statements contained in this paragraph were made in the context alleged by Plaintiff.
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 21 of 40




       110.    Defendant admits that he made the statement referenced in paragraph 110 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff.

       111.    Defendant admits the averments contained in paragraph 111 of Plaintiff’s Second

Amended Complaint.

       112.    Defendant admits that he made the statement referenced in paragraph 112 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff or her claims against Defendant Russin.

       113.    Defendant admits the averments contained in paragraph 113 of Plaintiff’s Second

Amended Complaint. Defendant denies that the statement referenced therein was made in relation

to Plaintiff. Defendant denies that the statements contained in this paragraph were made in the

context alleged by Plaintiff

       114.    Defendant admits that he made the statement referenced in paragraph 114 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff

       115.    Defendant admits that he made the statement referenced in paragraph 115 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff

       116.    Defendant admits that he made the statements referenced in paragraph 116 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 22 of 40




was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff.

        117.   Defendant admits that he made the statements referenced in paragraph 117 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff. Defendant that the statements were degrading to

women, or advocating for violence.

        118.   Defendant admits that he made the statements referenced in paragraph 118 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff, her claims against Defendant Russin, or this lawsuit. Defendant

denies that the statements contained in this paragraph were made in the context alleged by Plaintiff.

        119.   Defendant admits that he made the statements referenced in paragraph 119 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff.

        120.   Defendant denies the averments contained in paragraph 120 of Plaintiff’s Second

Amended Complaint. To the contrary, Defendant was not informed that the claims against him

were substantiated. Moreover, Defendant was not terminated by AIL, the parties mutually parted

ways.

        121.   Defendant admits the averments contained in paragraph 121 of Plaintiff’s Second

Amended Complaint. Defendant denies that the photograph is intimidating, or related to Plaintiff.

        122.   Defendant admits that he made the statements referenced in paragraph 122 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 23 of 40




was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff.

       123.    Defendant denies the averments contained in paragraph 123 of Plaintiff’s Second

Amended Complaint.

       124.    Defendant denies the averments contained in paragraph 124 of Plaintiff’s Second

Amended Complaint.

       125.    Defendant admits that he made the statements referenced in paragraph 125 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff.

       126.    Defendant admits that he made the statements referenced in paragraph 126 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff.

       127.    Defendant admits that he made the statements referenced in paragraph 127 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff or her claims against Defendant Russin. Defendant denies that

the statements contained in this paragraph were made in the context alleged by Plaintiff.

       128.    Defendant admits that he posted the photograph and related caption referenced in

paragraph 128 of Plaintiff’s Second Amended Complaint. Defendant denies that the statement

referenced therein was made in relation to Plaintiff. Defendant denies that the statements

contained in this paragraph were made in the context alleged by Plaintiff.
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 24 of 40




       129.    Defendant admits that he made the statements referenced in paragraph 129 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff or was criminal in nature. Defendant denies that the statements

contained in this paragraph were made in the context alleged by Plaintiff.

       130.    Defendant admits that he contacted a company known as Virgo + Garnet regarding

its interactions with Mr. Russin’s social media pages. Defendant denies the remainder of the

averments contained in paragraph 130 of Plaintiff’s Second Amended Complaint.

       131.    Defendant is without sufficient knowledge or information to form a belief regarding

the averments contained in paragraph 131 of Plaintiff’s Second Amended Complaint.

       132.    Defendant admits that he made the statements referenced in paragraph 132 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff.

       133.    Defendant admits that he made the statements referenced in paragraph 133 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff.

       134.    Defendant admits that he made the statements referenced in paragraph 134 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff.

       135.    Defendant admits that he made the statements referenced in paragraph 135 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 25 of 40




was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff.

       136.    Defendant admits that he made the statements referenced in paragraph 136 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff. Defendant denies that he has a “history of violence,

unstable mental health, and crime.”

       137.    Defendant admits that he made the statements referenced in paragraph 137 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff. Defendant denies that he “advocated violence toward

women and in general.”

       138.    Defendant admits that he made the statements referenced in paragraph 138 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff.

       139.    Defendant admits that he made the statements referenced in paragraph 139 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff.

       140.    Defendant admits that he made the statements referenced in paragraph 140 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 26 of 40




was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff.

       141.    Defendant denies the averments contained in paragraph 141 of Plaintiff’s Second

Amended Complaint.

       142.    Defendant is without sufficient knowledge or information to form a belief regarding

the averments contained in paragraph 142 of Plaintiff’s Second Amended Complaint.

       143.    Defendant admits that he made the statements referenced in paragraph 143 of

Plaintiff’s Second Amended Complaint. Defendant denies that the statement referenced therein

was made in relation to Plaintiff. Defendant denies that the statements contained in this paragraph

were made in the context alleged by Plaintiff.

       G. Russin’s Ongoing Acts Intended to Intrude Upon Plaintiff’s Seclusion in the Face
          of this Honorable Court’s Directive to Cease his “Appalling” Behavior

       144.    Defendant admits the averments contained in paragraph 144 of Plaintiff’s Second

Amended Complaint.

       145.    Defendant admits that he made the statements referenced in paragraph 145 of

Plaintiff’s Second Amended Complaint. Defendant denies the implication that the statement

referenced therein is related to Plaintiff. Defendant denies that the statements contained in this

paragraph were made in the context alleged by Plaintiff.

       146.    Defendant admits that he made the statements referenced in paragraph 146 of

Plaintiff’s Second Amended Complaint. Defendant denies the implication that the statement

referenced therein is related to Plaintiff. Defendant denies that the statements contained in this

paragraph were made in the context alleged by Plaintiff.

       147.    Defendant admits that he made the statements referenced in paragraph 147 of

Plaintiff’s Second Amended Complaint. Defendant denies the implication that the statement
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 27 of 40




referenced therein is related to Plaintiff. Defendant denies that the statements contained in this

paragraph were made in the context alleged by Plaintiff. Defendant denies the averment that he

made the statement while “threatening another former coworker.”

       148.     Defendant admits that he made the statements referenced in paragraph 148 of

Plaintiff’s Second Amended Complaint. Defendant denies the implication that the statement

referenced therein is related to Plaintiff. Defendant denies that the statements contained in this

paragraph were made in the context alleged by Plaintiff.

                                      COUNT I
                      Violation of the Fair Labor Standards Act
                               29 U.S.C. § 201, et. seq.
           RENEE ZINSKY v. RUSSIN FINANICAL [SIC], RUSSIN HOLDING
              GROUP, ARIAS AGENCIES, S.A. HOLDING, AMERICAN
                     INCOME LIFE INSURANCE COMPANY

           149.        Based on this Court’s July 22, 2022, Order, Defendant is not required to file

   a responsive pleading to the averments contained in Count I, paragraphs 149-165 of Plaintiff’s

   Second Amended Complaint. To the extent that a responsive pleading is required, Defendant

   denies the averments contained in Count I, paragraphs 149-165 of Plaintiff’s Second Amended

   Complaint.

                                     COUNT II
                        Violation of 29 C.F.R. § 516 et. seq.
                       Failure to Maintain Required Records
           RENEE ZINSKY v. RUSSIN FINANICAL [SIC], RUSSIN HOLDING
              GROUP, ARIAS AGENCIES, S.A. HOLDING, AMERICAN
                     INCOME LIFE INSURANCE COMPANY

       150.     Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in Count II, paragraphs 166-174 of Plaintiff’s

Second Amended Complaint.        To the extent that a responsive pleading is required, Defendant
       Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 28 of 40




denies the averments contained in Count II, paragraphs 166-174 of Plaintiff’s Second Amended

Complaint.

                                     COUNT III
                  Violation of the Pennsylvania Minimum Wage Act
          RENEE ZINSKY v. RUSSIN FINANICAL [SIC], RUSSIN HOLDING
             GROUP, ARIAS AGENCIES, S.A. HOLDING, AMERICAN
                    INCOME LIFE INSURANCE COMPANY

       151.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in Count III, paragraphs 175-187 of Plaintiff’s

Second Amended Complaint.      To the extent that a responsive pleading is required, Defendant

denies the averments contained in Count III, paragraphs 175-187 of Plaintiff’s Second Amended

Complaint.

                                    COUNT IV
            Violation of Pennsylvania Wage Payment and Collection Law
     RENEE ZINSKY v. MICHAEL RUSSIN, RUSSIN FINANICAL [SIC], RUSSIN
     HOLDING GROUP, SIMON ARIAS III, ARIAS AGENCIES, S.A. HOLDING,
             AMERICAN INCOME LIFE INSURANCE COMPANY


       152.   Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in Count IV, paragraphs 188-201 of Plaintiff’s

Second Amended Complaint.      To the extent that a responsive pleading is required, Defendant

denies the averments contained in Count IV, paragraphs 188-201 of Plaintiff’s Second Amended

Complaint.

                                 COUNT V
                              Unjust Enrichment
          RENEE ZINSKY v. RUSSIN FINANICAL [SIC], RUSSIN HOLDING
             GROUP, ARIAS AGENCIES, S.A. HOLDING, AMERICAN
                    INCOME LIFE INSURANCE COMPANY

       153.   Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in Count V, paragraphs 202-207 of Plaintiff’s
       Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 29 of 40




Second Amended Complaint.      To the extent that a responsive pleading is required, Defendant

denies the averments contained in Count V, paragraphs 202-207 of Plaintiff’s Second Amended

Complaint.

                                    COUNT VI
               Breach of Contract – Failure to Negotiate in Good Faith
          RENEE ZINSKY v. RUSSIN FINANICAL [SIC], RUSSIN HOLDING
             GROUP, ARIAS AGENCIES, S.A. HOLDING, AMERICAN
                    INCOME LIFE INSURANCE COMPANY

       154.   Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in Count VI, paragraphs 208-213 of Plaintiff’s

Second Amended Complaint.      To the extent that a responsive pleading is required, Defendant

denies the averments contained in Count VI, paragraphs 208-213 of Plaintiff’s Second Amended

Complaint.

                                    COUNT VII
                  Declaratory Relief – Rescission of Agent Contract
          RENEE ZINSKY v. RUSSIN FINANICAL [SIC], RUSSIN HOLDING
             GROUP, ARIAS AGENCIES, S.A. HOLDING, AMERICAN
                    INCOME LIFE INSURANCE COMPANY


       155.    Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in Count VII, paragraphs 214-230 of Plaintiff’s

Second Amended Complaint.      To the extent that a responsive pleading is required, Defendant

denies the averments contained in Count VII, paragraphs 214-230 of Plaintiff’s Second Amended

Complaint.

                                      COUNT VIII
Declaratory Relief – Ending Forced Arbitration of Sexual Assault and Sexual Harassment Act
          RENEE ZINSKY v. RUSSIN FINANICAL [SIC], RUSSIN HOLDING
               GROUP, ARIAS AGENCIES, S.A. HOLDING, AMERICAN
                        INCOME LIFE INSURANCE COMPANY
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 30 of 40




        156.   Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in Count VIII, paragraphs 231-237 of Plaintiff’s

Second Amended Complaint.        To the extent that a responsive pleading is required, Defendant

denies the averments contained in Count VIII, paragraphs 231-237 of Plaintiff’s Second Amended

Complaint.

                                         COUNT IX
                                        Sexual Assault
                              RENEE ZINSKY v. MICHAEL RUSSIN

        157.   Paragraph 238 of Plaintiff’s Second Amended Complaint is an incorporation

paragraph to which no responsive pleading is required.

        158.   Paragraph 239 Plaintiff’s Second Amended Complaint contains a conclusion of law

to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 239 of Plaintiff’s Second Amended

Complaint.

        159.   Defendant denies the averments contained in paragraph 240 of Plaintiff’s Second

Amended Complaint.

        160.   Defendant denies the averments contained in paragraph 241 of Plaintiff’s Second

Amended Complaint as stated. Defendant admits that there had been instances in which he was

intoxicated at work between 2019-2020. Defendant denies that this behavior was frequent and/or

open.

        161.   Defendant denies the averments contained in paragraph 242 of Plaintiff’s Second

Amended Complaint as stated. Defendant admits that he has used drugs and alcohol at work in the

past, and that he has struggled with drug and alcohol abuse in the past, but denies that it was

consistent and/or frequent.
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 31 of 40




       162.   Paragraph 243 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 243 of Plaintiff’s Second Amended

Complaint.

       163.   Paragraph 244 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 244 of Plaintiff’s Second Amended

Complaint.

       164.   Paragraph 245 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required.

                                     COUNT X
                                      Battery
                          RENEE ZINSKY v. MICHAEL RUSSIN

       165.    Paragraph 246 of Plaintiff’s Second Amended Complaint is an incorporation

paragraph to which no responsive pleading is required.

       166.   Paragraph 247 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 247 of Plaintiff’s Second Amended

Complaint.

       167.   Paragraph 248 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 248 of Plaintiff’s Second Amended

Complaint.
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 32 of 40




       168.   Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in paragraph 249 of Plaintiff’s Second Amended

Complaint. To the extent that a responsive pleading is required, Defendant denies the averments

contained in paragraph 249 of Plaintiff’s Second Amended Complaint.

       169.   Paragraph 250 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 250 of Plaintiff’s Second Amended

Complaint.

       170.   Paragraph 251 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 251 of Plaintiff’s Second Amended

Complaint.

                                     COUNT XI
                                  False Imprisonment
                          RENEE ZINSKY v. MICHAEL RUSSIN

       171.   Paragraph 252 of Plaintiff’s Second Amended Complaint is an incorporation

paragraph to which no responsive pleading is required.

       172.   Defendant admits the averments contained in paragraph 253 of Plaintiff’s Second

Amended Complaint that he often rode in the same vehicle with Plaintiff, and often discussed

business during such rides. The remainder of the averments contained in paragraph 253 of

Plaintiff’s Second Amended Complaint are denied.

       173.   Defendant denies the averments contained in paragraph 254 of Plaintiff’s Second

Amended Complaint.
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 33 of 40




       174.    Defendant denies the averments contained in paragraph 255 of Plaintiff’s Second

Amended Complaint.

       175.    Paragraph 256 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 256 of Plaintiff’s Second Amended

Complaint.

       176.    Paragraph 257 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 257 of Plaintiff’s Second Amended

Complaint.

                                       COUNT XII
                       Intentional Infliction of Emotional Distress
              RENEE ZINSKY v. MICHAEL RUSSIN AND SIMON ARIAS, III

       177.    Paragraph 258 of Plaintiff’s Second Amended Complaint is an incorporation

paragraph to which no responsive pleading is required.

       178.    Paragraph 259 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. Based on this Court’s July 22, 2022, Order,

Defendant is not required to file a responsive pleading to the averments contained in paragraph

259 of Plaintiff’s Second Amended Complaint. To the extent that the averments contained in

paragraph 259 of Plaintiff’s Second Amended Complaint are directed at Defendant, and therefore

a responsive pleading is required, Defendant avers as follows:

        (a)   Paragraph 259(a) of Plaintiff’s Second Amended Complaint contains a conclusion
              of law to which no responsive pleading is required. To the extent that responsive
              pleading is required, Defendant denies the allegations in subparagraph 259(a) of
              Plaintiff’s Second Amended Complaint.
        (b)   Defendant denies the averments contained in subparagraph 259(b) of Plaintiff’s
              Second Amended Complaint.
       Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 34 of 40




       (c)    Subparagraph 259(c) of Plaintiff’s Second Amended Complaint contains a
              conclusion of law to which no responsive pleading is required. To the extent that a
              responsive pleading is required, Defendant denies the allegations in subparagraph
              259(c) of Plaintiff’s Second Amended Complaint.
       (d)    Defendant denies the averments contained in subparagraph 259(d) of Plaintiff’s
              Second Amended Complaint.
       (e)    Defendant admits the averments contained in subparagraph 259(e) that Defendant
              consumed alcohol and ingested drugs on occasion during work hours. The remainder
              of the averments contained in subparagraph 259 (e) of Plaintiff’s Second Amended
              Complaint are denied.
       (f)    Defendant denies the averments contained in subparagraph 25(f) of Plaintiff’s
              Second Amended Complaint.
       (g)    Defendant denies the averments contained in subparagraph 259(g) of Plaintiff’s
              Second Amended Complaint.
       (h)    Defendant denies the averments contained in subparagraph 259(h) of Plaintiff’s
              Second Amended Complaint.
        (i)   Defendant denies the averments contained in subparagraph 259(i) of Plaintiff’s
              Second Amended Complaint.
       (j)    Defendant denies the averments contained in subparagraph 259(j) of Plaintiff’s
              Second Amended Complaint.
       (k)    Defendant denies the averments contained in subparagraph 259(k) of Plaintiff’s
              Second Amended Complaint.
       (l)    Defendant denies the averments contained in subparagraph 259(l) of Plaintiff’s
              Second Amended Complaint.
       (m)    Defendant denies the averments contained in subparagraph 259(m) of Plaintiff’s
              Second Amended Complaint.
       (n)    Defendant denies the averments contained in subparagraph 259(n) of Plaintiff’s
              Second Amended Complaint.
       (o)    Defendant denies the averments contained in subparagraph 259(o) of Plaintiff’s
              Second Amended Complaint.
       (p)    Defendant denies the averments contained in subparagraph 259(p) of Plaintiff’s
              Second Amended Complaint.
       179.   The averments contained in paragraph 260 of Plaintiff’s Second Amended

Complaint, including all relevant subparagraphs, are directed to a party other than answering

Defendant and, therefore no response is required of answering Defendant. To the extent a
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 35 of 40




responsive pleading is required, Defendant denies the averments contained in paragraph 260 of

Plaintiff’s Second Amended Complaint, including all relevant subparagraphs.

       180.   Paragraph 261 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 261 of Plaintiff’s Second Amended

Complaint.

       181.   Paragraph 262 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 262 of Plaintiff’s Second Amended

Complaint.

                                    COUNT XIII
                     Negligent Hiring, Retention, and Supervision
              RENEE ZINSKY v. RUSSIN FINANCIAL, RUSSIN HOLDING
               GROUP, ARIAS AGENCIES, S.A. HOLDING, AMERICAN
                      INCOME LIFE INSURANCE COMPANY

       182.   Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in Count XIII, paragraphs 263-272 of Plaintiff’s

Second Amended Complaint.       To the extent that a responsive pleading is required, Defendant

denies the averments contained in Count XIII, paragraphs 263-272 of Plaintiff’s Second Amended

Complaint.

                                     COUNT XIV
                        Vicarious Liability/Respondeat Superior
              RENEE ZINSKY v. RUSSIN FINANCIAL, RUSSIN HOLDING
               GROUP, ARIAS AGENCIES, S.A. HOLDING, AMERICAN
                      INCOME LIFE INSURANCE COMPANY

       183.   Based on this Court’s July 22, 2022, Order, Defendant is not required to file a

responsive pleading to the averments contained in Count XIV, paragraphs 273-278 of Plaintiff’s
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 36 of 40




Second Amended Complaint.       To the extent that a responsive pleading is required, Defendant

denies the averments contained in Count XIV, paragraphs 273-278 of Plaintiff’s Second Amended

Complaint.

                                    COUNT XV
                                     Defamation
                          RENEE ZINSKY v. MICHAEL RUSSIN

       184.   Paragraph 279 of Plaintiff’s Second Amended Complaint is an incorporation

paragraph to which no responsive pleading is required.

       185.   Paragraph 280 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 280 of Plaintiff’s Second Amended

Complaint.

       186.   Defendant admits the averments contained in paragraph 281 of Plaintiff’s Second

Amended Complaint that he contacted former employees for information related to Plaintiff’s

claims against him. Defendant denies the remainder of the averments contained in paragraph 281

of Plaintiff’s Second Amended Complaint.

       187.   Defendant admits the averments contained in paragraph 282 of Plaintiff’s Second

Amended Complaint that he contacted former employees for information related to Plaintiff’s

claims against him. Defendant denies the remainder of the averments contained in paragraph 282

of Plaintiff’s Second Amended Complaint.

       188.   Paragraph 283 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 283 of Plaintiff’s Second Amended

Complaint.
           Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 37 of 40




                                       COUNT XVI
                                 Intrusion Upon Seclusion
                           RENEE ZINSKY v. MICHAEL RUSSIN

       189.     Paragraph 284 of Plaintiff’s Second Amended Complaint is an incorporation

paragraph to which no responsive pleading is required.

       190.     Defendant denies the averments contained in paragraph 285 of Plaintiff’s Second

Amended Complaint, including all relevant subparts.

       191.     Paragraph 286 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 286 of Plaintiff’s Second Amended

Complaint.

       192.     Paragraph 287 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 287 of Plaintiff’s Second Amended

Complaint.

       193.     Paragraph 288 of Plaintiff’s Second Amended Complaint contains a conclusion of

law to which no responsive pleading is required. To the extent a responsive pleading is required,

Defendant denies the averments contained in paragraph 288 of Plaintiff’s Second Amended

Complaint.

                         AFFIRMATIVE AND OTHER DEFENSES

      Defendant, Michael Russin, asserts the following affirmative defenses to Plaintiff’s
Complaint:
                                  FIRST DEFENSE

       Plaintiff’s Second Amended Complaint fails to state a claim upon which relief can be

granted.
         Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 38 of 40




                                         SECOND DEFENSE

        Plaintiff's claims are barred in whole or in part by the applicable statute of limitations.


                                          THIRD DEFENSE

        Plaintiff's claims for damages should be denied or reduced due to her failure to mitigate

her damages in whole or in part.


                                         FOURTH DEFENSE
        Plaintiff's claims are barred, in whole or in part, by the equitable doctrines of waiver,

estoppel, laches, or unclean hands.


                                          FIFTH DEFENSE
        Any statements made by Defendant regarding Plaintiff are protected by the First Amended

to the United States Constitution.


                                          SIXTH DEFENSE
        Any statements made by Defendant regarding Plaintiff are entitled to qualified privilege.


                                        SEVENTH DEFENSE
        Any statements made by Defendant regarding Plaintiff are entitled to absolute privilege.


                                        SEVENTH DEFENSE
        Any statements made by Defendant regarding Plaintiff were either true or made without

the requisite degree of fault to trigger liability.


                                         EIGHTH DEFENSE
        Any statements made by Defendant regarding Plaintiff were expressions of opinion.
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 39 of 40




                                       NINTH DEFENSE
       Plaintiff’s claims are barred by consent.



       Defendant reserves the right to assert additional defenses and/or supplement and amend

this answer upon the discovery of more definite facts.



       WHEREFORE, Defendant, Michael Russin, denies that he is liable to Plaintiff for any

sum under any theory of liability and demands judgment in his favor, together with attorney’s fees,

costs, interest, and such other relief as this Court may deem just and appropriate.




                                 DEMAND FOR JURY TRIAL

       Defendant, Michael Russin, hereby demands a trial by jury on all issues that are so triable.




Dated: November 15, 2022



                                                   Respectfully submitted,
                                                   Cozza Law Group PLLC


                                             By:      s/Benjamin D. Webb
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                                                      Counsel for Defendant
        Case 2:22-cv-00547-MJH Document 50 Filed 11/15/22 Page 40 of 40




                               CERTIFICATE OF SERVICE

       The undersigned does hereby certify that a true and correct copy of the foregoing Answer

to Plaintiff’s Second Amended Complaint has been sent via the CM/ECF system to all counsel

and/or parties of record.




                                                          Cozza Law Group PLLC

                                                          /s/Benjamin D. Webb
                                                          Benjamin D. Webb, Esquire
